UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



NAREEN ADUSUMELLI, et al.,

                               Plaintiffs,
               -against-                                         08 Civ. 6932 (RJH)

                                                           MEMORANDUM OPINION
                                                               AND ORDER
DAVID STEINER, COMMISSIONER OF
EDUCATION, et al.,

                               Defendants.



ALANNA FARRELL,

                               Plaintiff,

               -against-                                         09 Civ. 4902 (RJH)


NEW YORK STATE DEPARTMENT OF
EDUCATION, et al.,

                               Defendants.


Richard J. Holwell, District Judge:

       New York Education Law § 6805(1)(6) provides that “[t]o qualify for a

pharmacist’s license, an applicant shall . . . be a United States citizen or an alien lawfully

admitted for permanent residence in the United States.” The phrase “lawfully admitted

for permanent residence” refers to aliens who have obtained their green cards—that is,

aliens who have gained “legal permanent resident” (“LPR”) status under federal law. See

8 U.S.C. § 1101(a)(20). The New York statute excludes all other aliens from the
pharmacy profession, including those who have received authorization from the federal

government to work in the United States temporarily.1 The question in this case is

whether § 6805(1)(6) is unconstitutional because it denies non-LPR aliens equal

protection of the laws or because it encroaches upon the exclusive federal power to

regulate immigration.

        The Supreme Court, relying on both the Equal Protection Clause and the

exclusivity of the federal immigration power, has traditionally applied strict scrutiny to

strike down state laws that discriminate against aliens. See Examining Bd. of Engineers,

Architects and Surveyors v. Flores de Otero, 426 U.S. 572, 602 (1976). Two United

States circuit courts, however, recently distinguished this precedent and upheld state laws

discriminating against non-LPR aliens on the theory that alienage classifications are not

suspect so long as they do not discriminate against LPRs. League of United Latin

American Citizens (LULAC) v. Bredesen, 500 F.3d 523 (6th Cir. 2007); LeClerc v. Webb,

419 F.3d 405 (5th Cir. 2005). The Second Circuit has not decided the issue.

                                         BACKGROUND

        The facts of these consolidated actions are not disputed. Plaintiffs are twenty-six

aliens with temporary authorization from the federal government to work in the United

States. Twenty-two of them obtained visas known as H-1B temporary worker visas,

which under the Immigration and Nationality Act may be given to aliens who come

“temporarily to the United States to perform services . . . in a specialty occupation . . . .”

8 U.S.C. § 1101(a)(15)(H)(i)(b); Def. 56.1 ¶ 4. The other four plaintiffs obtained “TN”

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  Similar provisions of the New York Education Law exclude non-LPR aliens from other professions. See
N.Y. Educ. Law §§ 6524(6) (physicians), 6554(6) (chiropractors), 6604(6) (dentists), 6609(6) (dental
hygienists), 6704(6) (veterinarians), 6711(6) (veterinary technicians), 6955(2)(6) (midwives), 7206(6)
(engineers), 7206-a(1)(6) (land surveyors), 7324(1)(6) (landscape architects), 7504(1)(6) (certified
shorthand reporters), 7804(5) (massage therapists).


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temporary worker status, an immigration status created by federal law in accordance with

the North American Free Trade Agreement (“NAFTA”) that permits admission to “a

citizen of Canada or Mexico who seeks temporary entry as a business person to engage in

business activities at a professional level . . . .” 8 C.F.R. § 214.6(a). All twenty-six

plaintiffs are pharmacists. They secured “limited licenses” to practice pharmacy in New

York under a previous version of § 6805(1)(6), which permitted a three-year waiver of

the citizenship or green card requirement for otherwise qualified pharmacists, plus a one-

year extension of that waiver. (Farrell 56.1 ¶ 14.) The waiver provision expired in

October 2006. (Id. at ¶ 15.) Though plaintiffs’ limited licenses were set to expire by

2009 and are not eligible for renewal (because of the green card requirement), the parties

stipulated and the Court ordered that the licenses be extended pending the outcome of this

litigation. (Id. at ¶ 19.) Thus, plaintiffs continue to practice pharmacy in New York, and

there is no dispute that they are qualified to do so but for their lack of green cards.

Twenty-four of the twenty-six plaintiffs are licensed to practice pharmacy in other states.

(Adusumelli Mem. at 3.)

         Plaintiffs are known in the parlance of immigration law as “nonimmigrant aliens”

because they are authorized to stay in the country for only a finite period. Both H-1B and

TN status grant admission to the United States for an initial period of no more than three

years. 8 C.F.R. §§ 214.2(h)(9)(iii)(A)(1) (H-1B visa), 214.6(e) (TN status). Both

statuses also permit three-year extensions of this initial period, but an alien may not

remain in the country on an H-1B visa for more than a total of six years (in other words,

an H-1B visa may only be extended once). Id. at § 214.2(h)(15)(ii)(B)(1).2 Despite these


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 TN status, which covers four of the twenty-six plaintiffs, does not impose any limit on the alien’s total
period of stay. Id. at § 214.6(h)(iii)(iv).


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provisions, however, all but two of the plaintiffs have been in the United States for more

than six years, and six have been here for more than ten years. (Adusumelli Opp. at 7 n.

8; Adusumelli 56.1 ¶ 20, 49-51, 98, 159-60, 201-02; Farrell 56.1 ¶ 8.) Two patterns of

the immigration process for professionals explain this apparent anomaly. First,

professional aliens who receive temporary work authorization are often former students

who entered the country on student visas, completed their studies at an American

university, and then remained to work in the United States as H-1B or TN professionals.

(See, e.g., Farrell 56.1 ¶¶ 2-4 (Farrell entered on an F-1 student visa in 1999, received a

Doctor of Pharmacy from Howard University in 2005, and subsequently received an H-

1B visa to work as a pharmacist at Mount Sinai Hospital).) Second, aliens may apply for

green cards while working in the country on nonimmigrant status.3 Because the green

card process is slow and often remains unresolved when an H-1B professional’s

maximum period of stay expires, the United States issues “Employment Authorization

Documents” (“EADs”) to extend the work permissions of aliens awaiting green card

determinations who are not eligible for further visa extensions. See 8 C.F.R. §

274a.12(c)(9). Here, twenty-two plaintiffs have applied for green cards, and sixteen of

them have received EADs because they have exhausted the maximum terms of their H-

1B visas. (Adusumelli Mem. at 3; Adusumelli 56.1 Response ¶ 4.) Thus, though

plaintiffs are technically “nonimmigrants,” 8 U.S.C. § 1101(a)(15), most of them intend


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  That H-1B and TN workers can apply for green cards may itself seem anomalous, because these work
permissions are meant for aliens who seek to remain in the United States temporarily. 8 U.S.C. §
1101(a)(15)(H)(i)(B) (covering aliens who are “coming temporarily to the United States”); 8 C.F.R. §
214.6(a) (covering Canadian and Mexican citizens who seek “temporary entry”). TN applicants must
actually “satisfy the inspecting immigration officer that the proposed stay is temporary.” Id. at § 214.6(b).
By the legal fiction of “dual intent,” however, H-1B and TN professionals may maintain their temporary
status while simultaneously manifesting an intent to remain in the country permanently by applying to
become LPRs. See LeClerc, 419 F.3d at 429 (Stewart, J., dissenting).



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to immigrate and all of them are here in compliance with federal immigration laws and

policy. The Court uses the misnomer only because it is a term of art imbedded in the law,

see Toll v. Moreno, 458 U.S. 1, 3 (1982), not because it accurately describes plaintiffs’

intentions.

        Defendants are the Commissioner of Education and the Chancellor of the Board

of Regents (collectively, “the State”)—the leaders of the two New York agencies

responsible for enforcing § 6805(1)(6).4 They argue that nonimmigrant aliens are

transient as a class and that the statute rationally protects the public from the

consequences of this transience:

        Section 6805(1)(6) [furthers] . . . New York’s legitimate interest in
        protecting the health and safety of its residents by monitoring, regulating
        and enforcing compliance with professional disciplinary rules and
        ensuring the availability of malpractice actions against pharmacists where
        appropriate. . . . Persons without permanent ties to the United States are
        less likely to remain in the state, and [] are therefore less likely to comply
        with state disciplinary regulations. . . . Likewise, . . . pharmacists without
        permanent ties to the United States are more likely to locate their assets
        outside the state and outside the country, making them less available to
        satisfy judgments in malpractice actions.

(Def. Mem. at 18-19.)

        Plaintiffs argue § 6805(1)(6) violates the Equal Protection Clause;

unconstitutionally encroaches upon the federal immigration power; conflicts with federal

immigration law; violates substantive due process; and violates the right to interstate

travel. They seek a judgment declaring the statute unconstitutional and permanently

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  Though plaintiffs have also named the agencies themselves as defendants, the State argues that the claims
against the agencies—the Department of Education and the Board of Regents—are barred by the Eleventh
Amendment. The State is correct, see United States v. City of Yonkers, 96 F.3d 600, 619 (2d Cir. 1996)
(“To the extent that plaintiffs’ claims were asserted against New York State, SED [the State Education
Department], and the Board of Regents, . . . those defendants have Eleventh Amendment immunity and
hence are not considered to be persons suable under § 1983.”), and plaintiffs do not dispute the point. As
the State concedes, however, plaintiffs may state claims for injunctive relief against the Commissioner of
Education and the Chancellor of the Board of Regents in their official capacities under the Ex Parte Young
doctrine. See State Employees Bargaining Agent Coalition v. Rowland, 494 F.3d 71, 95 (2d Cir. 2007).


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enjoining the defendants from enforcing it. The parties filed cross motions for summary

judgment. Because the Court agrees with plaintiffs’ first two arguments, it does not reach

the others.

                                      DISCUSSION

       “State classifications based on alienage are subject to ‘strict judicial scrutiny.’”

Examining Bd. of Engineers, Architects and Surveyors v. Flores de Otero, 426 U.S. 572,

602 (1976) (quoting Graham v. Richardson, 403 U.S. 365, 376 (1971)). The Supreme

Court established this rule of constitutional law in a line of cases decided between 1971

and 1977 that began with Graham v. Richardson. The Court had struck down state and

local alienage classifications before, see Yick Wo v. Hopkins, 118 U.S. 356 (1886)

(municipal ordinance that excluded Chinese aliens from the laundry industry); Takahashi

v. Fish & Game Comm’n, 334 U.S. 410 (1948) (California law that denied fishing

licenses to aliens not eligible for federal citizenship); Truax v. Raich, 239 U.S. 33 (1915)

(Arizona law that required private employers with five or more employees to employ

80% citizens), but not until Graham did the Court explain its rationale in the terminology

of modern Constitutional jurisprudence:

       [C]lassifications based on alienage, like those based on nationality or race,
       are inherently suspect and subject to close judicial scrutiny. Aliens as a
       class are a prime example of a ‘discrete and insular’ minority (see United
       States v. Carolene Products Co., 304 U.S. 144, 152-153, n. 4 (1938)) for
       whom such heightened judicial solicitude is appropriate. Accordingly, it
       was said in Takahashi that “the power of a state to apply its laws
       exclusively to its alien inhabitants as a class is confined within narrow
       limits.”

403 U.S. at 372. The Graham court applied this principle to declare unconstitutional two

welfare statutes, one that denied benefits to all non-citizens and another that allowed

aliens to receive benefits only if they met a 15-year residency requirement. Id. at 367-69.



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In the ensuing six years, the Court struck down four similar alienage classifications: a

New York law that excluded non-citizens from a portion of the civil service, Sugarman v.

Dougall, 413 U.S. 634 (1973); a Connecticut law that made non-citizens ineligible to take

the bar exam, In re Griffiths, 413 U.S. 717 (1973); a Puerto Rico law that excluded non-

citizens from the private practice of engineering, Flores de Otero, 426 U.S. at 576; and a

New York law that limited public financial aid for higher education to citizens and aliens

who had applied for citizenship or who declared an intent to apply when eligible. Nyquist

v. Mauclet, 432 U.S. 1 (1977). Justice Blackmun authored all of these opinions except

Griffiths, and he summarized their rationales in Flores de Otero:

       The underpinnings of the Court's constitutional decisions defining the
       circumstances under which state and local governments may favor citizens
       of this country by denying lawfully admitted aliens equal rights and
       opportunities have been two. The first, based squarely on the concepts
       embodied in the Equal Protection Clause of the Fourteenth Amendment
       and in the Due Process Clause of the Fifth Amendment, recognizes that
       “(a)liens as a class are a prime example of a ‘discrete and insular’ minority
       . . . for whom . . . heightened judicial solicitude is appropriate.” Graham v.
       Richardson, 403 U.S. at 372. The second, grounded in the Supremacy
       Clause, Const., Art. VI, cl. 2, and in the naturalization power, Art. I, s 8,
       cl. 4, recognizes the Federal Government's primary responsibility in the
       field of immigration and naturalization.

426 U.S. at 602 (citations omitted). Since Nyquist, the Supreme Court has upheld state

laws discriminating against aliens only in two distinct circumstances that it has

determined warrant lesser scrutiny. First, a state may exclude aliens from “political and

governmental functions.” Toll v. Moreno, 458 U.S. 1, 12 n.17 (1982); Foley v. Connelie,

435 U.S. 291, 295-96 (1978) (upholding under rational basis review New York law

excluding aliens from police force). Second, states have broad power to deny benefits

and opportunities to undocumented aliens, “whose very presence within the United States




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is the product of their own unlawful conduct.” Plyler v. Doe, 457 U.S. 202, 219 (1982);5

DeCanas v. Bica, 424 U.S. 351, 356 (1976) (upholding against Naturalization Clause and

Supremacy Clause challenges California statute prohibiting employment of illegal aliens)

(“California’s attempt . . . to prohibit the knowing employment . . . of persons not entitled

to lawful residence in the United States, let alone to work here, is certainly within the

mainstream of [its] police power regulation.”).

         Here, the State does not argue that § 6805(1)(6) falls into either of these

established exceptions; instead the State seeks to distinguish the rule that alienage

classifications draw strict scrutiny on the ground that the rule should only apply to laws

that discriminate against LPRs. Unlike the Graham line of cases—most of which

concerned laws that distinguished between citizens and non-citizens and all of which

concerned statutes that disfavored at least some LPRs—§ 6805(1)(6) draws a slightly

different line by immigration status, one that treats LPRs and citizens alike and places all

other aliens into a disfavored class. Justice Rehnquist raised this distinction in his dissent

in Toll v. Moreno, 458 U.S. 1, 44-45 (1982)—where the majority held that a Maryland

law drawing a similar line between LPRs and other aliens violated the Supremacy

Clause—but no majority of the Court has ever recognized it.6 Two circuit courts,

however, recently relied on the LPR distinction to uphold state laws that denied benefits



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 Plyler concerned a Texas law that denied free public education to undocumented children. Though the
Court found that illegal aliens are not a suspect class, it nonetheless invalidated the law under a heightened
form of rational basis review triggered primarily by the innocence of the affected children. 457 U.S. at 220
(“[L]egislation directing the onus of a parent’s misconduct against his children does not comport with
fundamental conceptions of justice.”).
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 Justice Rehnquist wrote: “In each case in which the Court has tested state alienage classifications . . . the
question has been the extent to which the States could permissibly distinguish between citizens and
permanent resident aliens . . . . [T]he need for strict scrutiny simply does not apply to state policies that
distinguish between permanent resident aliens and nonimmigrants.” Id.


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and opportunities to only non-LPR aliens. LULAC, 500 F.3d 523; LeClerc, 419 F.3d

405.

         The Court will consider the LPR distinction’s relevance to each of Justice

Blackmun’s rationales in turn.

         A.       Equal Protection and the LPR distinction

         The State’s Equal Protection argument turns on differences in the rights and

obligations of LPRs, on the one hand, and nonimmigrant aliens, on the other hand.

According to the State, LPRs “share essential benefits and burdens of citizenship”—they

pay taxes like citizens, they can volunteer for or be conscripted into the military, and they

have authorization to live and work in the country indefinitely—while other aliens

lawfully within the country do not have as much in common with citizens. (Def. Mem. at

13 (quoting LeClerc, 419 F.3d at 415).) Nonimmigrants like plaintiffs, for example, have

not received permission to remain in the country indefinitely, have different tax

obligations than citizens and LPRs, and generally cannot serve in the military. The

State’s position is that these differences, which evidence a more tenuous connection to

the United States, mean that nonimmigrants and other aliens who have not obtained a

green card have a distinct “constitutional status” that does not warrant strict scrutiny

under the Equal Protection Clause.7 Under this theory, state classifications drawn by


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 The first step in any Equal Protection analysis is to determine the applicable level of judicial scrutiny.
That determination turns on whether the law creates a suspect classification or burdens a fundamental right:

          [U]nless the legislature utilizes a classification that is inherently invidious because it
          disadvantages a suspect class, or because it infringes upon the exercise of a fundamental
          right, [courts] exercise only a limited review power over the acts of legislatures. Under
          this limited review power, we will uphold forms of state action under the Equal
          Protection Clause so long as the classification at issue bears some rational relationship
          to a legitimate state interest. On the other hand, where a suspect class or a fundamental
          right is at issue in the classification, we apply a more searching form of scrutiny. Thus,
          the threshold question for any analysis under the Equal Protection Clause is whether the


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immigration status are not suspect so long as they group green card holders with citizens

in the favored class and discriminate only against non-LPRs.

         LeClerc and LULAC support the State’s argument. In LeClerc, a divided Fifth

Circuit panel upheld a Louisiana law that barred all aliens except LPRs from taking the

state bar exam. 419 F.3d 405 (5th Cir. 2005). The LeClerc court found that Equal

Protection only requires strict scrutiny of alienage classifications that differentiate

between LPRs and citizens:

         The [Supreme] Court's treatment of resident aliens [] rests upon pragmatic
         recognition that [permanent] resident aliens are similarly situated to citizens in
         their economic, social, and civic (as opposed to political) conditions . . . . Like
         citizens, [permanent] resident aliens may not be deported, are entitled to reside
         permanently in the United States, may serve, voluntarily or by conscription, in the
         military, are entitled to state aid benefits, and pay taxes on the same bases as
         citizens.

Id. at 418. The court reasoned that non-LPRs do not bear the same badges of quasi-

citizenship and that laws discriminating against non-LPRs as a class are therefore not

suspect. Id. In LULAC, a divided Sixth Circuit panel relied on the reasoning in LeClerc

to uphold a similar Tennessee law, which rendered non-LPR aliens ineligible to obtain

driver’s licenses. 500 F.3d at 533-34.

         LeClerc and LULAC’s adoption of the LPR distinction has prompted criticism

from jurists and commentators. In both circuit cases, dissenting judges argued that

alienage is a suspect classification for reasons that apply to LPRs and nonimmigrants

alike. “[T]he basis for aliens’ suspect class designation seems to be premised on aliens’

          highly deferential rational basis review applies, or instead whether the legislation
          involves a suspect class or a fundamental right resulting in the application of a stricter
          form of scrutiny.

Hayden v. Paterson, 594 F.3d 150, 169-70 (2d Cir. 2010). The two forms of heightened scrutiny are (1)
strict scrutiny, under which a law will be upheld only if it is “narrowly tailored” to meet “compelling
government objectives;” and (2) intermediate scrutiny, which requires that a law be “substantially related”
to “important government objectives.” Kimel v. Florida Bd. of Regents, 528 U.S. 62, 84 (2000).


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inability to vote, and thus their impotence in the political process, and the long history of

invidious discrimination against them.” Id. at 540 (Gilman, J., dissenting) (quoting

LeClerc, 419 F.3d at 428-29 (Stewart, J., dissenting)). Judge Gilman’s dissent in LULAC

canvassed a body of commentary leveling similar criticisms at LeClerc—namely, that the

Supreme Court’s alienage jurisprudence has never distinguished between LPRs and other

aliens, and that Graham’s rationale encompasses all legal aliens, including

nonimmigrants. Id. at 541 (quoting Recent Cases, Fifth Circuit Holds That Louisiana

Can Prevent Nonimmigrant Aliens From Sitting for the Bar, 119 Harv. L. Rev. 669, 673-

74 (2005) (“[T]he Supreme Court [has] never differentiated equal protection review

based on status as an immigrant or a nonimmigrant alien . . . . That nonimmigrant aliens

work under a different tax structure, cannot serve in the military, and face mandatory

departure from the United States, for example, does not justify offering them less

constitutional protection . . . .”)). One year after LULAC, Judge Siragusa of the Western

District of New York relied on the LeClerc and LULAC dissents to hold that a New York

law barring non-LPR aliens from the practice of veterinary medicine (in other words, the

corollary to § 6805(1)(6) for the veterinary profession) violated the Equal Protection

Clause. Kirk v. New York State Dep’t of Ed., 562 F. Supp. 2d 405, 411 (2008)

(“[C]lassifications based on ‘alienage’ generally [are] inherently suspect . . . . [T]he Court

finds that the challenged statute must be reviewed under the strict scrutiny standard, and

that it fails to pass such scrutiny.”).

        The disagreement over the LPR distinction encompasses two disputed questions.

First, what are the differences between LPRs and nonimmigrant aliens? And second, do

those differences properly distinguish the underpinnings of the doctrine that aliens are a




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suspect class? The first question is factual, but it has generated disagreement

nonetheless. Both the LeClerc and LULAC courts relied upon a series of purported

differences between LPRs and nonimmigrants. LeClerc summarized those differences as

follows:

       Nonimmigrant aliens' status is far more constricted than that of resident
       aliens. Nonimmigrant aliens are admitted to the United States only for the
       duration of their status, and on the express condition they have “no
       intention of abandoning” their countries of origin and do not intend to seek
       permanent residence in the United States. They are admitted, remain, and
       must depart at the discretion of the Attorney General. Plaintiffs
       acknowledge that nonimmigrant aliens may not serve in the U.S. military,
       are subject to strict employment restrictions, incur differential tax
       treatment, and may be denied federal welfare benefits.

419 F.3d at 418-19. LULAC used a similar formulation:

       Like citizens, [LPRs] pay taxes, support the economy, serve in the armed
       forces, and are entitled to reside permanently in the United States.
       Temporary resident aliens, on the other hand, are admitted to the United
       States only for the duration of their authorized status, are not permitted to
       serve in the U.S. military, are subject to strict employment restrictions,
       incur differential tax treatment, and may be denied federal welfare benefits.

500 F.3d at 533.

       As the dissenters noted, aspects of these summaries are misleading. First,

nonimmigrants like plaintiffs do pay taxes, often on the same terms as citizens and LPRs.

Nonimmigrants are considered U.S. residents for tax purposes so long as they are

“physically present in the U.S. for at least 31 calendar days during the course of the year

and 183 days during the 3 year period that includes the current year and two previous

years immediately before it.” LeClerc, 419 F.3d at 427 n.1 (Stewart, J., dissenting)

(citing 26 U.S.C. § 7701(b)). Many nonimmigrants, including many of the plaintiffs

here, meet this test and accordingly bear the same tax obligations as citizens and LPRs.

(E.g., Farrell 56.1 ¶ 19.) Those who do not meet the residency test still pay taxes on all



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income generated within the U.S., but not on income generated abroad. LeClerc, 419

F.3d at 419 n.45. Thus, when LULAC said that LPRs “pay taxes [and] support the

economy” while nonimmigrants “incur differential tax treatment,” what it meant was that

some nonimmigrants do not pay taxes on foreign income.

       The Circuit majorities’ descriptions of nonimmigrants’ transience are also

inaccurate. LeClerc stated “[n]onimmigrant aliens are admitted to the United States only

for the duration of their status, and on the express condition they have ‘no intention of

abandoning’ their countries of origin and do not intend to seek permanent residence in the

United States.” 419 F.3d at 418-19. But many nonimmigrants, including many of the

plaintiffs here, are in the process of applying for green cards. And the nonimmigrant

veterinarian-plaintiff in Kirk actually became an LPR by the time the case reached the

Second Circuit, prompting the circuit to vacate the district court’s decision for mootness.

No. 08-3683-CV (2d Cir. June 24, 2009) (“We find this appeal to be moot in light of the

United States’s grant of permanent legal residency status to Plaintiff.”). Such are the

effects of the State Department’s doctrine of dual intent, under which nonimmigrants

may “both express a short term intent to remain in the United States temporarily (so as

not to contravene the requirements of the visa under which they entered) and a long term

intent to remain in the United States permanently (so that they may apply for adjustment

of status).” LeClerc, 419 F.3d at 429 (Stewart, J., dissenting). Thus, though

nonimmigrants are perhaps more likely than LPRs to leave the United States, the

distinctions between the two immigration statuses are not quite as LeClerc and LULAC

presented them. Both LPRs and nonimmigrants have foreign citizenship and might opt to

leave the United States permanently for their country of citizenship in the future.




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Similarly, both might remain in the United States permanently—a nonimmigrant by

obtaining LPR status, and an LPR by simply exercising his right to permanent residence.

The difference between the two statuses (and it is a difference) is that a nonimmigrant

may not be able to remain in the United States if he wishes.

       As for the other features of nonimmigrant status that the circuit majorities relied

upon—ineligibility for military service and certain federal benefits, and limited work

permission (in other words, permission to work only in a specified field)—neither the

circuits nor defendants here explain how these federally imposed restrictions relate to

state policy or otherwise impact the Equal Protection analysis. See Takahashi, 334 U.S.

at 419 (“It does not follow . . . that because the United States regulates immigration and

naturalization . . . a state can adopt one or more of the same classifications to prevent

lawfully admitted aliens within its borders from earning a living in the same way that

other state inhabitants earn their living.”). In this Court’s view, then, the oft-discussed

differences between LPR and nonimmigrant status boil down to one potentially important

difference—nonimmigrants have not yet obtained permission to reside in the United

States permanently—and a slew of other differences of uncertain relevance

(nonimmigrants are barred from the United States military, some of them do not pay

taxes on foreign income, they can be denied certain federal benefits, and they are

typically admitted for the purpose of practicing a particular profession, like pharmacy).

       The remaining question is whether these differences properly distinguish the

constitutional rule that alienage-based classifications are suspect under the Equal

Protection Clause. The Graham court, by providing only the most limited explanation of

why it designated aliens a suspect class, left significant room for disagreement over this




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issue. Graham declared aliens a “discrete and insular minority.” But what does it mean

to be a discrete and insular minority? And why do aliens as a class fit that description?

Graham did not clarify. See Toll, 458 U.S. at 40 (Rehnquist, J., dissenting) (“Apart from

the abbreviated conclusion that ‘aliens as a class are a prime example of a discrete and

insular minority,’ the [Graham] Court did not elaborate on the justification for

‘heightened judicial solicitude.’”) (quoting Graham, 403 U.S. at 372). In Foley, Justice

Burger suggested that aliens’ “discreteness and insularity” derived from their inability to

vote, 435 U.S. at 294, and Justice Rehnquist proposed the same theory in his Toll dissent.

458 U.S. at 40 (“One could infer that rigorous judicial scrutiny [of alienage

classifications] normally was necessary because aliens were barred from asserting their

interests in the governmental body responsible for imposing burdens upon them.”). Other

opinions suggest aliens are discrete and insular due to the history of invidious

discrimination against them. See Flores de Otero, 426 U.S. at 603 (canvassing history of

“[o]fficial discrimination against lawfully admitted aliens”).

       Perhaps the best way to read Graham’s use of the hoary phrase, “discrete and

insular minority,” is as a signifier that denotes a group of criteria for determining the

proper scrutiny level under the Equal Protection Clause, rather than a single dispositive

rationale. Justice Brennan proposed this broader reading in Plyler:

       Several formulations might explain our treatment of certain classifications
       as “suspect.” Some classifications are more likely than others to reflect
       deep-seated prejudice rather than legislative rationality in pursuit of some
       legitimate objective. Legislation predicated on such prejudice is easily
       recognized as incompatible with the constitutional understanding that each
       person is to be judged individually and is entitled to equal justice under
       the law. Classifications treated as suspect tend to be irrelevant to any
       proper legislative goal. Finally, certain groups, indeed largely the same
       groups, have historically been “relegated to such a position of political
       powerlessness as to command extraordinary protection from the



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         majoritarian political process.” The experience of our Nation has shown
         that prejudice may manifest itself in the treatment of some groups. Our
         response to that experience is reflected in the Equal Protection Clause of
         the Fourteenth Amendment. Legislation imposing special disabilities upon
         groups disfavored by virtue of circumstances beyond their control
         suggests the kind of “class or caste” treatment that the Fourteenth
         Amendment was designed to abolish.

457 U.S. at 217 n.14. This language touches all the familiar premises for strict scrutiny

under the Equal Protection clause. Such scrutiny is warranted if a legal classification (1)

turns on a characteristic that is generally irrelevant to policy goals and has been the

subject of irrational discrimination in the past; (2) unfairly differentiates people based on

an immutable characteristic or a characteristic “beyond their control;” or (3) disfavors a

politically powerless class.8 The Court’s Equal Protection-alienage jurisprudence builds

on all three of these criteria.

         The first scrutiny criterion is the most prevalent. The Supreme Court draws upon

history and context to make a preliminary assessment of the legislature’s likely motives

for classifying people by a particular characteristic, and if that preliminary assessment

reveals red flags, the Court applies heightened scrutiny. For example, race is seldom

relevant to policy, and our history reveals examples of legislative enactments motivated

by irrational racial prejudice, so the Court is suspicious of any law that classifies by race.

See, e.g., Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 440 (1985) (“[R]ace, alienage,

or national origin . . . are so seldom relevant to the achievement of any legitimate state


8
  See Erwin Chemerinsky, Constitutional Law 672 (3d ed. 2006) (“Several criteria are applied in
determining the level of scrutiny [under the Equal Protection Clause] . . . . [T]he Court has emphasized that
immutable characteristics like race, national origin, gender, and the marital status of one’s parents warrant
heightened scrutiny. The notion is that it is unfair to penalize a person for characteristics that the person
did not choose and that the individual cannot change. The Court also considers the ability of the group to
protect itself through the political process . . . . [Finally,] [t]he history of discrimination against the group is
relevant to the Court in determining the relevant level of scrutiny. A related issue is the Court’s judgment
concerning the likelihood that the classification reflects prejudice as opposed to a permissible government
purpose.”).


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interest that laws grounded in such considerations are deemed to reflect prejudice and

antipathy—a view that those in the burdened class are not as worthy or deserving as

others.”). Of course, this explanation portrays the Court as putting the cart before the

horse by considering the likely rationality of a law before deciding how closely to

scrutinize the rationality of the law. But there is no doubt that the Court does, in fact, use

this method to choose between scrutiny levels. See id.; Frontiero v. Richardson, 411

U.S. 677, 684-86 (1973) (“[W]hat differentiates sex from such non-suspect statuses as

intelligence or physical disability, and aligns it with the recognized suspect criteria, is

that the sex characteristic frequently bears no relation to ability to perform or contribute

to society.”). Moreover, the Court’s heightened scrutiny of alienage classifications

appears to derive in part from such a preliminary assessment of their likely irrationality:

       By labeling aliens a discrete and insular minority, the Court [concluded]
       . . . that for most legislative purposes there simply are no meaningful
       differences between resident aliens and citizens, so that aliens and citizens
       are persons similarly circumstanced who must be treated alike. At the
       same time, both common experience and the unhappy history reflected in
       our cases demonstrate that aliens often have been the victims of irrational
       discrimination. In combination, these factors—disparate treatment
       accorded a class of similarly circumstanced persons who historically have
       been disabled by the prejudice of the majority—[led] the Court to
       conclude that alienage classifications in themselves supply a reason to
       infer antipathy and therefore demand close judicial scrutiny.

Toll, 458 U.S. at 20-21 (Blackmun, J., concurring).

       The State’s argument, as the Court construes it, is that alienage classifications that

discriminate against only non-LPR aliens do not raise the same reds flags or “inferences

of antipathy” because non-LPRs, by virtue of their assumed transience, are not similarly

situated to the rest of the population for policy purposes. (State Reply at 5 (“[T]emporary

nonimmigrant aliens are not a ‘suspect class’ because they are different from citizens and




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LPRs in critical ways, and it is entirely appropriate for states to take account of these

differences.”).) In other words: whereas courts are understandably suspicious of laws

distinguishing citizens from LPRs (because those groups are similarly situated), laws that

discriminate only against non-LPR aliens should not generate similar suspicion because

those laws turn on a rational distinction.9

         Somewhat persuasively, this argument seeks to tie the LPR distinction to the

criteria for determining scrutiny in a way that the LeClerc and LULAC opinions do not.

But the Court is not convinced that the differences between LPRs and nonimmigrants are

substantial enough to remove non-LPR classifications from the ambit of judicial

suspicion. First, the Supreme Court has already considered and rejected a state law

discriminating against a sub-class of aliens characterized by potential transience. In

Nyquist, the Court struck down a New York law that discriminated against LPRs who had

not yet applied for citizenship and who did not intend to apply for citizenship once they

qualified to do so. 432 U.S. at 10. Because an LPR must renounce foreign citizenship to

become a U.S. citizen, id. at 5 n.5, the discrimination reached only those LPRs who

refused to declare an intent to sever foreign ties.

         The Nyquist law and § 6805(1)(6) implicate transience in different ways—the

Nyquist law by excluding aliens who refused to declare an irrevocable commitment to the

United States, and § 6805(1)(6) by excluding aliens whom the federal government may

still force to leave after a finite period. But the point remains: the affected sub-class of

aliens in Nyquist was distinctly more likely to leave the United States than the unaffected


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  This was Justice Rehnquist’s argument also. Toll, 458 U.S. at 44-45 (Rehnquist, J., dissenting) (“Implicit
in [Graham and other] cases is the judgment that because permanent residents are in so many respects
situated similarly to citizens, distinctions between them are to be carefully scrutinized. . . . [That] judgment
. . . simply does not apply to . . . distin[ctions] between permanent resident aliens and nonimmigrants.”).


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remainder of the citizen/LPR population, yet the Supreme Court applied strict scrutiny

anyway.

       Second, the State’s argument addresses only one of the two factors the Supreme

Court considers in assessing a law’s likely rationality for choice-of-scrutiny purposes.

Even if one accepts the premise that nonimmigrants have a higher potential for transience

than LPRs and that this fact has policy relevance, no one would argue that nonimmigrant

aliens are any less likely to suffer irrational discrimination than their LPR counterparts.

Indeed, under the State’s reasoning, the opposite is true: because nonimmigrants

generally have enjoyed less time to assimilate, they are logically more likely to suffer

xenophobic animosity. In other contexts, where a distinguishing characteristic has policy

relevance but has also been an axis of irrational discrimination, the Supreme Court has

applied other forms of heightened scrutiny. Gender classifications receive intermediate

scrutiny because of this mix of possible policy relevance and bad history:

       [S]keptical scrutiny of official action denying rights or opportunities based
       on sex responds to volumes of history [of discrimination]. . . . [But] the
       heightened review standard our precedent establishes does not make sex a
       proscribed classification. Supposed “inherent differences” are no longer
       accepted as a ground for race or national origin classifications. Physical
       differences between men and women, however, are enduring: “The two
       sexes are not fungible; a community made up exclusively of one [sex] is
       different from a community composed of both.” Ballard v. United States,
       329 U.S. 187, 193 (1946).

United States v. Virginia, 518 U.S. 515, 531-33 (1996). Under this framework,

intermediate scrutiny would seem the lowest possible standard of review for non-LPR

classifications, because while such classifications might, in some circumstances,

implicate a relevant difference between people, they also implicate a history in which




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aliens have been denied rights and opportunities simply because they are aliens. See,

e.g., Takahashi, 334 U.S. 410; Yick Wo, 118 U.S. 356.10

         Of course, one might believe that § 6805(1)(6), rather than extending this

unfortunate history, seeks only to further the legitimate purposes the State ascribes to it

here—that is, that the law aims to enhance professional discipline and ensure the

availability of malpractice remedies, and that the categorical exclusion of non-LPRs is

the law’s manner of pursuing those objectives. But judicial suspicion is not misplaced.

New York law also bars non-LPRs from other desirable private occupations in which

transience would not seem to pose the same purported dangers: certified shorthand

reporter, massage therapist, land surveyor, and veterinary technician. N.Y. Educ. Law §§



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   The terminology of the Supreme Court’s gender-equal protection and alienage-equal protection doctrines
is difficult to reconcile. In the gender context, the Court applies intermediate scrutiny based on the
conclusion that gender is sometimes relevant to policy. Virginia, 518 U.S. at 533. This intermediate
standard, applied uniformly to all gender classifications, is meant to separate laws based on antiquated
conceptions of gender inequality from laws based on rational policy. Id. In the alienage context, in
contrast, the Court does not apply a uniform level of scrutiny, but instead changes its scrutiny depending on
the propriety of the legislative premise. States have a legitimate interest in defining their “democratic
political institutions,” and also in “withholding [their] beneficence from those whose very presence within
the United States is the product of their own unlawful conduct,” so alienage classifications geared to further
those interests receive only rational basis review. Foley, 435 U.S. at 295; Plyler, 457 U.S. at 219. Justice
Rehnquist noted this anomaly of the alienage doctrine, albeit to support a different argument (that alienage
classifications should not receive any heightened scrutiny). Toll, 458 U.S. at 41 n.12 (Rehnquist, J.,
dissenting) (“The Court has recognized that the strength of the State’s interest is great when it seeks to
exclude aliens from its political processes, but selection of the appropriate level of ‘scrutiny’ traditionally
has depended, not on the nature of the State’s interest, but on the nature of the burdened class. If the Court
has eschewed strict scrutiny in the ‘political process’ cases, it may be because the Court is [] uncomfortable
with the categorization of aliens as a suspect class.”).
          The differences between the Court’s gender and alienage doctrines are in the end of little practical
import, because under both frameworks the Court differentiates between permissible policy initiatives, on
the one hand, and laws that strike too close to antipathy and irrational discrimination, on the other hand.
But in the alienage context, the Court uses a doctrine of exceptions instead of intermediate scrutiny to
accomplish that differentiation. The State seems to argue that the LPR distinction should create a third
categorical exception to the alienage-equal protection doctrine, alongside the Foley and Plyler exceptions.
But the foundation of the LPR distinction is too shoddy to support a bright categorical distinction. While
an undocumented alien’s ipso facto violation of federal law marks a stark distinction from other state
residents, a nonimmigrant alien’s potential transience is based on probabilities—many nonimmigrants, like
the plaintiffs here who have lived in this country for more than ten years and are in the process of applying
for permanent residence, stay in the United States longer than many LPRs. The nonimmigrant’s potential
transience does not carry the patent salience of the Plyler and Foley distinctions.



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6711(6), 7206-a(1)(6), 7504(1)(6), 7804(5). And not long ago, New York forthrightly

argued before the Supreme Court that a State should be able to deny aliens opportunities

simply for the purpose of preserving those opportunities for citizens. Sugarman, 413

U.S. at 643-44 (“[A]ppellants argue that a State constitutionally may confine public

employment to citizens. Mr. Justice (then Judge) Cardozo accepted this ‘special public

interest argument’ because of the State’s concern with ‘the restriction of the resources of

the state to the advancement and profit of the members of the state.’”) (quoting People v.

Crane, 214 N.Y. 154, 161 (1915)). Whatever one thinks of that government purpose—

and as the quotation reveals, major voices have endorsed it in the past—the Supreme

Court has declared it constitutionally impermissible. Id. at 644. To apply only rational

basis review here would contravene principles of judicial scrutiny by ignoring historical

and contextual indications that § 6805(1)(6) in fact seeks to achieve the same

impermissible objective by reserving pharmacy jobs for citizens and LPRs.11 See Flores

de Otero, 426 U.S. at 603 (“[Historically] aliens have been restricted from engaging in

private enterprises and occupations that are otherwise lawful . . . . It is with respect to this

kind of discrimination that the States have had the greatest difficulty in persuading this

Court that their interests are substantial and constitutionally permissible, and that the

discrimination is necessary for the safeguarding of those interests.”).

        The non-LPR distinction is even less relevant to the other criteria for heightened

scrutiny—fairness and political powerlessness. The Court’s alienage jurisprudence

invokes these criteria in tandem. See Griffiths, 413 U.S. at 722 (“Resident aliens, like

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  Before 1982, New York law excluded all aliens from the pharmacy profession, except those aliens who
had legally declared an intent to become a citizen. See Act of Apr. 14, 1947, ch. 820, § 6803(1)(h), 1947
N.Y. Laws 2052. The Legislature broadened the exception to encompass all LPRs in response to the
Graham line of cases. See Act of Jun. 1, 1982, ch. 133, § 17, 1982 N.Y. Laws 499.



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citizens, pay taxes, support the economy, serve in the Armed Forces, and contribute in

myriad other ways to our society. It is appropriate that a State bear a heavy burden when

it deprives them of employment opportunities.”);12 Foley, 435 U.S. at 294 (“[T]he Court

has treated certain restrictions on alienage with ‘heightened judicial solicitude,’ a

treatment deemed necessary since aliens—pending their eligibility for citizenship—have

no direct voice in the political processes.”) (citation omitted). The theory is that courts

must be wary of state laws that exploit aliens’ political powerlessness by denying them

the fruits of their societal contributions. Here, the State does not explain why this theory

would apply any less to nonimmigrants, who also work, pay taxes, contribute to society,

and have no political voice while they remain in this country. At one point, the State

seems to suggest that non-LPR classifications should not receive strict scrutiny because

non-LPRs have a different “constitutional status” by virtue of their weaker ties to the

country. (Def. Br. at 14.) LeClerc makes a similar suggestion. 419 F.3d at 417 (“[N]on-

immigrant aliens—who ordinarily stipulate before entry to this country that they have no

intention of abandoning their native citizenship, and who enter with no enforceable claim

to establishing permanent residence or ties here—need not be accorded the extraordinary

protection of strict scrutiny by virtue of their alien status alone.”). But what does it mean

to say that nonimmigrants have a different “constitutional status” than LPRs, or that

nonimmigrants “need not” be protected to the same extent as LPRs? The Supreme Court

has already established that all aliens, even undocumented aliens, have rights under the

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   The State relies heavily on similar language in Graham, but there the Court referenced the similarities
between legal alienage and citizenship in the course of applying strict scrutiny to reject a legislative
justification; the Court did not invoke those similarities as a basis for choosing strict scrutiny review. 403
U.S. at 376 (“The ‘justification of limiting expenses [by excluding a class of persons] is particularly
inappropriate and unreasonable when the discriminated class consists of aliens. Aliens like citizens pay
taxes and may be called into the armed forces. Unlike the short-term residents in Shapiro [who were
citizens], aliens may live within a state for many years, work in the state and contribute to the economic
growth of the state.’”) (quoting lower court opinion, 321 F. Supp. 250, 253).


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equal protection clause. Plyler, 457 U.S. at 215. Perhaps the “constitutional status”

argument is that nonimmigrants have not earned the protections of strict scrutiny—that

they do not deserve “heightened judicial solicitude” because they have not been here long

enough. But the Court’s alienage jurisprudence simply does not support that argument.

Non-LPR classifications, like citizenship classifications, deny benefits and opportunities

to legal residents with no political voice who contribute to society. To the extent

concerns for fairness and political powerlessness contributed to the application of

heightened scrutiny in the Graham line of cases, those concerns also favor heightened

scrutiny here.

                                     *       *       *

       Based on the foregoing considerations, the Court concludes that § 6805(1)(6), by

denying non-LPR aliens the opportunity to obtain a pharmacy license, triggers strict or

intermediate scrutiny. The Court need not choose between these levels of heightened

scrutiny because § 6805(1)(6) fails them both. Under intermediate scrutiny, the

government bears the burden of proving that the classification serves “important

governmental objectives and that the discriminatory means employed are substantially

related to the achievement of those objectives.” Nguyen v. Immigration and

Naturalization Service, 533 U.S. 53, 60-61 (2001) (quoting Virginia, 518 U.S. at 533).

Here, the State has argued only that § 6805(1)(6) meets the rational basis test and has not

put forth any evidence to show that the law withstands more exacting review; there is no

evidence, for example, that transience amongst New York pharmacists threatens public

health or that nonimmigrant pharmacists, as a class, are in fact considerably more

transient than LPR and citizen pharmacists. And even if the Court were to forgive this




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failure of proof, the State’s justification for the law demonstrates by itself that its

“discriminatory means” are not “substantially related” to its governmental objectives.

The State says it seeks to protect “the health and safety of [New York] residents by

monitoring, regulating and enforcing compliance with professional disciplinary rules and

ensuring the availability of malpractice actions against pharmacists where appropriate.”

(Def. Mem. at 18.) Section 6805(1)(6)’s exclusion of non-LPRs is a legitimate means of

pursuing these goals, according to the State, because non-LPRs are more likely to leave

the country, and perhaps less likely to have substantial assets in the country, and

consumers may therefore have more difficulty recovering against non-LPR pharmacists

for malpractice and the State may have more difficulty enforcing disciplinary measures

against them. (Id. at 19.) But the fit between these given legislative purposes and the

law’s discriminatory device is woefully inexact. The State purports to ameliorate the

dangers posed by transient or judgment-proof pharmacists through a provision aimed at

only a tiny subclass of pharmacists, instead of imposing generally applicable insurance or

similar malpractice-related requirements upon the entire profession. As a consequence,

the law does nothing to reduce the dangers of transience amongst citizen and LPR

pharmacists, while at the same time excluding longtime nonimmigrant residents, many of

whom will become LPRs when the federal government processes their pending green

card applications. The question is not close; under any form of heightened scrutiny, §

6805(1)(6) fails. See LeClerc, 419 F.3d at 430 (Stewart, J., dissenting) (arguing that non-

LPR alienage classification failed rational basis test); Kirk, 562 F. Supp. 2d at 411-12

(same); see also Flores de Otero, 426 U.S. at 606 (“[T]he asserted purpose of [excluding

aliens from civil engineering] to assure responsibility for negligent workmanship sweeps




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too broadly. United States citizenship is not a guarantee that a civil engineer will

continue to reside in Puerto Rico or even in the United States, and it bears no particular or

rational relationship to skill, competence, or financial responsibility. Puerto Rico has

available to it other ample tools to achieve the goal of an engineer’s financial

responsibility without indiscriminately prohibiting the private practice of civil

engineering by a class of otherwise qualified professionals.”).

       B.      The LPR Distinction and the Federal Immigration Power

       “[States] can neither add to nor take from the conditions lawfully imposed by

Congress upon admission, naturalization and residence of aliens within the United States

or the several states. State laws which impose discriminatory burdens upon the entrance

or residence of aliens lawfully within the United States conflict with th[e]

constitutionally derived federal power to regulate immigration, and have accordingly

been held invalid.” Toll, 458 U.S. at 11 (quoting Takahashi, 334 U.S. at 419); DeCanas

v. Bica, 424 U.S. 351, 358 n.6 (1976) (same). This rule, established in Takahashi and

relied upon in Graham and Flores de Otero, flows from two constitutional provisions:

the Naturalization Clause, which gives Congress power to “establish an uniform Rule of

Naturalization,” Art. I, § 8, cl. 4; and the Supremacy Clause. Art. VI, cl. 2. See Flores

de Otero, 426 U.S. at 602.

       In DeCanas, the Court limited the Takahashi rule somewhat, but not in any way

that affects its implications for § 6805(1)(6). DeCanas held that a California law

prohibiting employment of illegal aliens was a valid exercise of the state’s police power

and did not encroach on the federal immigration power. 424 U.S. at 352-53 (“[T]he

Court has never held that every state enactment which in any way deals with aliens is a




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 regulation of immigration and thus per se pre-empted . . . . [S]tanding alone, the fact that

 aliens are the subject of a state statute does not render it a regulation of immigration

 . . . .”). But in carving out this exception for a state law that discriminated against only

 illegal aliens, the Court reinforced the Takahashi rule’s applicability to state laws that

 discriminate against legal aliens: “State regulation not congressionally sanctioned that

 discriminates against aliens lawfully admitted to the country is impermissible if it

 imposes additional burdens not contemplated by Congress.” Id. at 358 n.6. And in Toll,

 the Court applied the Takahashi rule to hold unconstitutional a non-LPR alienage

 classification quite similar to § 6805(1)(6): a University of Maryland policy that allowed

 only citizens and “aliens lawfully admitted for permanent residence” to qualify for

 preferential “in-state” tuition status. 458 U.S. at 3, 17 (“We cannot conclude that

 Congress ever contemplated that a State . . . might impose discriminatory tuition charges

 and fees solely on account of [a person’s] federal immigration classification.”).

        Under these principles, Section 6805(1)(6) is even more clearly unconstitutional

than under the Equal Protection Clause. Indeed, in light of Toll, the LPR distinction is

not a distinction at all.

        The State makes two arguments. First, it contends that the following provision of

federal immigration law shows that § 6805(1)(6)’s discrimination is congressionally

sanctioned: “If an occupation requires a state or local license for an individual to fully

perform the duties of the occupation, an alien . . . seeking [a temporary visa to work] in

that occupation must have that license prior to approval of the petition.” 8 C.F.R. §

214.2(h)(4)(v)(A). The State interprets this licensure requirement to mean that it may

deny nonimmigrants the opportunity to practice pharmacy or other occupations based on




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their immigration status, because the provision leaves professional licensing decisions to

the states. Under this reading, the federal laws creating H-1B and TN visa status are

advisory: they indicate that nonimmigrants should be admitted to the country to practice

specialty occupations, but they also allow the states to decide whether nonimmigrants (as

a class, not as individuals) should be permitted to practice specialty occupations. And if

every state decided, like New York, that nonimmigrants should not enjoy this privilege,

then they would write H-1B and TN status out of the United States Code. A far more

logical interpretation is that the licensure provision prescribes an old and familiar division

of labor: the federal government decides which aliens may enter and with what

restrictions, and the states decide which individuals have the professional competence

and qualifications to obtain pharmacy and other licenses. See Watson v. Maryland, 218

U.S. 173, 176 (1910) (“[T]he police power of the states extends to the regulation of

certain trades and callings, particularly those which closely concern the public health . . . .

[T]he power of the state may be exerted to see that only properly qualified persons shall

undertake [the] responsible and difficult duties [of such professions].”).

       Second, the State relies on a passage of dicta from Toll to distinguish that case’s

holding:

       [W]hen Congress has done nothing more than permit a class of aliens to
       enter the country temporarily, the proper application of the principle [that
       states may not impose ‘additional burdens not contemplated by Congress’]
       is likely to be a matter of dispute. But the instant case does not present
       such a situation . . . .

458 U.S. at 12-13. The plaintiffs in Toll had nonimmigrant G-4 visas, which cover the

employees of certain international organizations (such as the World Bank) and their

families. Id. at 4; 8 U.S.C. § 1101(a)(15)(G)(iv). The Court determined that G-4




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nonimmigrants were not “temporary” aliens because federal immigration law did not

require them to demonstrate “an intent not to abandon a foreign residence.” Toll, 458

U.S. at 6 n.8. The State argues that the above-quoted passage carves out a caveat to the

Takahashi rule that governs this case. LeClerc made the same argument. 419 F.3d at

424.

       There are two problems with this argument. First, most of the plaintiffs here are

in all relevant respects similarly situated to the Toll plaintiffs. H-1B aliens, like G-4

aliens, need not demonstrate an intent not to abandon a foreign residence. See LeClerc,

419 F.3d at 411 n.4. And G-4 visa holders, like H-1B visa holders, are admitted to the

country for a finite period of time: G-4 holders for the duration of their employment at a

qualifying international organization, see 8 C.F.R. § 214.2(g)(1), and H-1B holders for an

initial term of three years. 8 C.F.R. §§ 214.2(h)(9)(iii)(A)(1). Thus, Toll’s dicta does not

apply to the twenty-two H-1B plaintiffs in this case.

       More to the point, the passage of dicta from Toll is quite a small platform for the

State’s case. The passage does not actually say that states may impose auxiliary burdens

on nonimmigrant aliens as a class. And here, the federal government has in fact done

something “more than permit [plaintiffs] to enter the country temporarily”—it has

permitted them to enter the country temporarily for the purpose of practicing specialty

occupations like pharmacy. By declaring that plaintiffs may not practice pharmacy, New

York law unmistakably imposes “additional burdens not contemplated by Congress” and

thus unconstitutionally encroaches upon the federal immigration power. DeCanas, 424

U.S. at 358 n.6.




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       A final point. The State argues that the four TN plaintiffs cannot argue

preemption because the NAFTA Implementation Act provides that only the United States

may bring actions attacking state laws that are inconsistent with NAFTA. See 19 U.S.C.

§ 3312 (b)(2). The Court finds it unnecessary to resolve this issue for two reasons. First,

6805(1)(6) is unconstitutional as applied to the TN plaintiffs because it violates their

Equal Protection rights, so it does not matter whether they may assert a preemption

challenge. Second, the argument that § 6805(1)(6) encroaches upon the federal

immigration power does not actually depend on a conflict between state and federal law.

The doctrine is that “state laws which impose discriminatory burdens upon the entrance

or residence of aliens lawfully within the United States conflict with th[e] constitutionally

derived federal power to regulate immigration . . . .” Toll, 458 U.S. at 11 (quoting

Takahashi, 334 U.S. at 419) (emphasis supplied). That §6805(1)(6) conflicts with or

obstructs federal law is a separate argument that the Court does not address given its

acceptance of plaintiffs’ Equal Protection and Takahashi arguments.

                                   CONCLUSION

       For the foregoing reasons, plaintiffs’ motions for summary judgment [37, 41] are

granted in substantial part and defendants’ motion [33] is denied in substantial part. The

individual defendants are permanently enjoined from applying or enforcing § 6805(1)(6)

against plaintiffs. Plaintiffs’ claims against the agencies are dismissed, as are their claims

for monetary damages.




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SO ORDERED.

Dated: New York, New York
      September 29,2010



                                      Richard J. Holwell
                                   United States District Judge




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